     2:19-cv-03049-MBS         Date Filed 10/05/20        Entry Number 13      Page 1 of 24




                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF SOUTH CAROLINA
                               CHARLESTON DIVISION


Isabel Murcia Herrera, and                )
KYPM, a minor,                            )
                                          )              Civil Action No: 2:19-03049-MBS
                                          )
                      Plaintiffs,         )
                                          )                   ORDER AND OPINION
               vs.                        )
                                          )
Ken Cuccinelli, Interim Director,         )
United States Citizenship and Immigration )
Services,                                 )
To Be Named, Acting Secretary, United     )
States Department of Homeland Security, )
and Donald Neufeld, Associate Director    )
of Service Center Operations,             )
                                          )
                      Defendants.         )
____________________________________)


       This matter is before the court on the motion to dismiss filed by Defendants Ken

Cuccinelli, Interim Director of the United States Citizenship and Immigration Services

                                                     ed States Department of Homeland Security,

and Donald Neufeld, Associate Director of Service Center Operations (collectively

                                                 Murcia Herrera and KYPM, a minor, (collectively



which Defendants filed a reply, ECF No. 12. The court has subject matter jurisdiction over this

matter pursuant to 28 U.S.C § 1331. For the re

Dismiss is granted in part and denied in part.
     2:19-cv-03049-MBS          Date Filed 10/05/20      Entry Number 13        Page 2 of 24




                                         BACKGROUND

                                          U Visa Program

        In 2000 Congress created the U nonimmigrant visa

Victims of Trafficking and Violence Protection Act.

codified at 8 U.S.C. § 1101(a)(15)(U). Set aside for immigrant victims of serious crimes,

Congress intended the U Visa program to strengthen the ability of law enforcement agencies to

detect, investigate, and prosecute crimes, while also protecting the victims of those crimes.

Victims of Criminal Activity: U Nonimmigrant Status, U.S. Citizenship and Immigration

Services (August 8, 2018, 11:48 AM), https://www.uscis.gov/humanitarian/victims-human-

trafficking-other-crimes/victims-criminal-activity-u-nonimmigrant-status/victims-criminal-

activity-u-nonimmigrant-status. In order for a petitioner to qualify for the U Visa, the



substantial physical or mental abuse as a result of having been a vi

                                   ion concerning [the] criminal act

                                                nt officials regarding the criminal activity; and,

(4) the criminal activity at



family members. 8 U.S.C. § 1101(a)(15)(U)(ii); 8 C.F.R. § 214.14(f)(2). A petitioner must be

admissible to the United States or obtain a waiver of inadmissibility. 8 U.S.C. § 1182(a); 8

C.F.R. § 214.1(a)(3)(i). The petitioner bears the burden of establishing eligibility. 8 C.F.R. §

214.14(c)(4).

        In 2002, Congress created USCIS and assigned it the following functions: (1)

adjudications of immigrant visa petitions; (2) adjudications of naturalization petitions; (3)



                                                 2
     2:19-cv-03049-MBS          Date Filed 10/05/20         Entry Number 13         Page 3 of 24




adjudications of asylum and refugee applications; (4) adjudications performed at service centers;

                                             by the Immigration and Naturalization Service

immediately before the effective date specified in section

Pub. L. No. 107-296, 116 Stat 2135 (2002).

       To obtain a U Visa, the petitioner must file a Petition for U Nonimmigrant Status (Form

I-918), a biometric fee or fee waiver request                            in accordance with

instructions to Form I-918. 8 C.F.R. § 214.14(c)(1). The petitioner must also submit a Form I-

918, Supplement B (U Nonimmigrant Status Certification), which is a form signed by a

designated law enforcement official within six months immediately preceding the submission of

                                                  § 214.14(c)(2)(i). This form certifies that the

petitioner has been, is being, or is likely to be helpful to the investigation or prosecution of

qualifying criminal activity. 8 C.F.R. § 214.14(c)(2)(i). Furthermore, the petitioner must submit

documentation that she has suffered direct or proximate harm from the criminal activity;

                                                       ntal abuse as a victim of the criminal activity;

information the petitioner possesses regarding the

helpfulness to law enforcement; evidence that the criminal activity violated United States law or

occurred in the United States; and a personal statement. See 8 C.F.R. §§ 214.14(a)(14), (b),

(c)(2). Congress enacted a statutory cap of 10,000 U-Visas each fiscal year. 8 U.S.C. §

1184(p)(2)(A).

       Defendants assert that Congress directed the Secretary of DHS to promulgate regulations

for the U Visa statute, ECF No. 7 at 4 (citing Violence Against Women Act of 2005, Pub. L. No.

109-162, 119 Stat. 2960, 3066 (2006)), and that DHS did so in 2007, giving USCIS sole

jurisdiction over U Visa petitions, id. (citing 8 C.F.R. § 214.14).



                                                   3
     2:19-cv-03049-MBS         Date Filed 10/05/20       Entry Number 13       Page 4 of 24




       On October 17, 2007, USCIS published a rule creating a regulatory waiting list procedure

to accommodate meritorious U-Visa petitions that exceed the annual statutory cap. 8 C.F.R. §

214.14(d)(2). The waiting list provision reads:

       All eligible petitioners who, due solely to the cap, are not granted U-1
       nonimmigrant status must be placed on a waiting list and receive written notice of
       such placement. Priority on the waiting list will be determined by the date the
       petition was filed with the oldest petitions receiving the highest priority. In the
       next fiscal year, USCIS will issue a number to each petition on the waiting list, in
       the order of highest priority, providing the petitioner remains admissible and
       eligible for U nonimmigrant status. After U-1 nonimmigrant status has been
       issued to qualifying petitioners on the waiting list, any remaining U-1
       nonimmigrant numbers for that fiscal year will be issued to new qualifying
       petitioners in the order that the petitions were properly filed. USCIS will grant
       deferred action or parole to U-1 petitioners and qualifying family members while
       the U-1 petitioners are on the waiting list. USCIS, in its discretion, may authorize
       employment for such petitioners and qualifying family members.

8 C.F.R. § 214.14(d)(2).

       On December 23, 2008, Congress enacted the William Wilberforce Trafficking Victims



                                                  t work authorization to any alien who has a

pending, bona fide application for nonimmigrant status under section 1101(a)(15)(U) of this

                                e employment authorization document allows U Visa applicants

to seek lawful employment while they await adjudication of their petitions.

       Up until January 2017, the regulation governing authorization of employment provided

                                              authorization document] application within 90

                                                                          f]ailure to complete the

adjudication within 90 days will result in the grant of an employment authorization document for




                                                  4
     2:19-cv-03049-MBS             Date Filed 10/05/20    Entry Number 13        Page 5 of 24




                                                           1
a period not to exceed 240 days                                The U status application form allows

for U status principal applicants to request work authorization on the same form used to request

U status. This one-step process comported with the rationale in the contemporaneous

rulemaking:

       For principal aliens seeking their first [work authorization] based upon U
       nonimmigrant status, USCIS will use the information contained in the Form I-918
       to automatically generate [work authorization], such that a separate request for
       [work authorization] is not necessary . . . . USCIS has designed the Form I-918 so
       that it serves the dual purpose of requesting U nonimmigrant status and
       employment authorization to streamline the application process. Therefore,
       principal aliens will not have to file additional paperwork to obtain an initial
       [work authorization].

New Classification for Victims of Criminal Activ

72 Fed. Reg. 53,014 (Sep. 17, 2007).

                                    Factual and Procedural History

       Plaintiff Herrera is a national and citizen of Honduras. She was the victim of criminal

domestic violence in November 2010, and she reported the abuse to law enforcement and

assisted law enforcement in the investigation of the crime. Following these events, Plaintiff

Herrera filed an I-918, Petition
                                                                                                      2
requested work authorization, also known as




1
  A revised version of section 274a.13(d) went into effect on January 17, 2017, after Plaintiff
Herrera had filed her petition. See                                nd EB-3 Immigrant Workers and
Program Improvements Affecting High-Skill
(Nov. 18, 2016). As discussed in more detail below, Defendants contend the court should apply
the current, revised version of the regulation rather than the version that was in effect at the time
Plaintiffs filed their petition. Unless otherwise noted, the court refers to former 8 C.F.R. §


2
 Plaintiff alleges she requested work authorization via the one-step process in completing the I-
                                                work authorization application for work
permission under deferred action elig
                                                  5
     2:19-cv-03049-MBS          Date Filed 10/05/20      Entry Number 13          Page 6 of 24




and she filed an I-918 Supplement A Petition for Qualifying Family Member of U-1 Recipient

                                                  ntiff KYPM. USCIS received the application

package on January 11, 2016. Plaintiff alleges that her application package has been pending at

the Vermont Service Center for three years and nine months with no decision regarding

eligibility for placement on the wait list or issuance of an EAD.

       Plaintiffs initiated this action on October 28, 2019, by filing a complaint asserting the

following: USCIS unreasonably delayed adjudicating Plaintiff Herr

granting her employment authorization in violation of the Administrative Procedure Act

                                              unreasonably delayed the initial prima facie

determination of the U Visa app                                     e process rights. ECF No. 1.

Plaintiffs seek an order from the court declaring it is unreasonable for USCIS to delay for 46

months its decision to (1) place a U Visa petitioner on the wait list, and (2) grant a U Visa

petitioner work authorization. Plaintiffs also seek an order compelling USCIS to render a

decision about wait list placement and work authorization within seven days of determining the

existence of an unreasonable delay. Plaintiffs ask the court to order USCIS to grant parole to

Plaintiff KYPM, should USCIS place Plaintiff Herrera on the wait list; and, finally, Plaintiffs

seek reimbursement for reasonabl                                re cost of litigation under the

Equal Access to Justice Act.3

                                      LEGAL STANDARD

       Under Federal Rule of Civil Procedure 12(b)(1), a party may move to dismiss a cause of

action based on lack of subject ma                                   ts are not courts of general



3
 Plaintiffs in two similar cases filed substantively identical complaints seeking the same relief.
Aguilar v. Cuccinelli, No. 2:19-cv-3051 (D.S.C. Oct. 28, 2019); Monjaraz v. Cuccinelli, No.
2:19-cv-3052 (D.S.C. Oct. 28, 2019).
                                                 6
        2:19-cv-03049-MBS        Date Filed 10/05/20       Entry Number 13        Page 7 of 24




jurisdiction; they have only the power that is authorized by Article III of the Constitution and the

statutes enacted by Congr                          Brickwood Contractors, Inc. v. Datanet

Engineering, Inc., 369 F.3d 385, 390 (4th Cir. 2004) (quoting Bender v. Williamsport Area Sch.

Dist., 475 U.S. 534, 541 (1986)). Challenges to jurisdiction under Rule 12(b)(1) can be raised in

two different ways: facial attacks and factual attacks. Thigpen v. United States, 800 F.2d 393,

401 n.15 (4th Cir. 1986) (citing Adams v. Bain, 697 F.2d 1213, 1219 (4th Cir. 1982)), disagreed

with on other grounds, Sheridan v. United States, 487 U.S. 392 (1988). A facial attack questions

the sufficiency of the complaint. Id. When presented with this argument, the court must accept

                                           and materials outside the pleadings are not

               Id. If the court lacks subject matter jurisdiction, it has no authority to evaluate

                                               a claim under Federal Rule of Civil Procedure

12(b)(6). See Steel Co. v. Citizens for a Better Environment, 523 U.S. 83, 94 (1997) (instructing

that courts should not assume jurisdiction for the purpose of deciding the merits).

         A Rule 12(b)(6) motion to dismiss for failure to state a claim upon which relief can be

granted tests the legal sufficiency of a complaint. Schatz v. Rosenberg, 943 F.2d 455, 489 (4th

Cir. 1991). While the complaint need not be minutely detailed, it must provide enough factual

details to put the opposing party on fair notice of the claim and the grounds upon which it rests.

Bell Atl. Corp. v. Twombly, 550 U.S 544, 555 (2007) (citing Conley v. Gibson, 355 U.S. 41, 47

(1957)).

         In order to withstand a motion to dismiss, a complaint must contain factual content that

allows the court to reasonably infer the defendant is liable for the alleged misconduct. Ashcroft v.

Iqbal

                              United States ex rel. Nathan v. Takeda Pharms. N. Am., Inc., 707



                                                   7
     2:19-cv-03049-MBS           Date Filed 10/05/20       Entry Number 13        Page 8 of 24




F.3d 451, 455 (4th Cir. 2013) (quoting Ashcroft, 556 U.S. at 678). The court must accept the

allegations in the complaint as true, and all reasonable factual inferences must be drawn in favor

of the party opposing the motion. Id. at 679. If the court determines that those factual

                                                                                                  Id.

To determine plausibility, a c                                                                      Id.

                                                        court to infer more than the mere possibility

of misconduct, the compla

           Id. (citing Fed. R. Civ. P. 8(a)(2)).

                                          DISCUSSION

I.     Subject Matter Jurisdiction

                                                       for the convenience and necessity of the

parties or their representatives and within a reasonable time, each agency shall proceed to

conclude a matter presented to                                  on 706 of the APA states that the

                                  ency action unlawfully withheld

                                   r § 706(1) can proceed only where a plaintiff asserts that an

agency failed to take a discrete agency action that it is required to take. Norton v. S. Utah

Wilderness All., 542 U.S. 55, 64, (2004) (emphasis in original). Courts have jurisdiction under

the APA to hear claims brought against an agency for unreasonable delay so long as judicial

review is not precluded by statute and agency action is not committed to agency discretion by

law. 5 U.S.C. §§ 701(a)(1), (2); see Asheville Tobacco Bd. of Tr

294 F.2d 619, 627 (4th Cir. 1961).

       Defendants argue the court lacks jurisdiction over the APA cl

of adjudication, for both U Visa petitions and employment authorization applications, is wholly



                                                   8
     2:19-cv-03049-MBS           Date Filed 10/05/20          Entry Number 13        Page 9 of 24




                                statute governing employment authorization claims, [8 U.S.C. §

                                                     No. 7 at 2. Defendants also argue that the

former version of 8 C.F.R. § 274a.13(d), in effect prior to 2017, does not apply and in any event

does not provide Plaintiffs the relief they seek.

        Plaintiffs respond that the court has subject matter jurisdiction because 8 U.S.C. §

                                                         as to discretion regarding the timing of a

decision for an employment auth                                            at 2. They emphasize that

they seek a decision on their applic

11 at 4. They also contend that 8 C.F.R. § 274a.13(d) controlled when they applied for the EAD

on February 19, 2016, that completi                                background check triggered the

                                    riod, and that Plaintiff Herrera was entitled to an EAD

determination nine months prior to when the law changed in January 2017. ECF No. 11 at 6-7.

        A. Statutory Grant of Discretion

        Where the statutes or regulations at issue in

                                                  eaningful standard against which to judge the

                                    Salazar v. King, 822 F.3d 61, 76 (2d Cir. 2016); Heckler v.

Chaney

                                                                          of discretion, the courts look

                                                  , and informal agency guidance that govern the

                               Salazar, 822 F.3d at 76. See Chaney, 470 U.S. at 834-35 (turning

to the statute therein at issue to determine if

                                as indicated an intent to circumscribe agency enforcement

discretion, and has provided meaningful standards for defining the limits of that discretion, there



                                                     9
    2:19-cv-03049-MBS            Date Filed 10/05/20      Entry Number 13       Page 10 of 24




                                         See also Department of Homeland Security v. Regents of

the University of California, --- U.S. ----, 140 S. Ct. 1891, 1906 (2020) (concluding that USCIS

took affirmative action to create adjudications, thereby creating a program through which it

conferred affirmative immigration relief to eligible aliens, and that th



regulations can provide a court wi

affected, it is incumbent upon agencies to follow their own proce

where the internal procedures are possibly more rigorous than otherwise would be

              Salazar, 822 F.3d at 76 (quoting in part Morton v. Ruiz, 415 U.S. 199, 235 (1974)).4

          As discussed herein, the lack of clear statutory authority granting DHS discretion to delay

indefinitely the adjudication of a U Visa petition coupled with

and guidance regarding the importance of swift adjudication compels this court to conclude that

the pace at which USCIS adjudicates U Visas is not barred from judicial review under section

701(a).

          Defendants begin their statutory analysis by citing 8 U.S.C. § 1252(a)(2)(B)(ii). For the

purpose of context, the court reviews and quotes § 1252(a)(2)(B)(i) and (ii):

          Notwithstanding any other provision of law (statutory or nonstatutory),
          including section 2241 of Title 28, or any other habeas corpus provision, and
          sections 1361 and 1651 of such title, and except as provided in subparagraph (D),
          and regardless of whether the judgment, decision, or action is made in removal
          proceedings, no court shall have jurisdiction to review




4

rule or by settled course of                                      ich its exercise of discretion
will be governed, an irrational departure from that policy (as opposed to an avowed alteration of
it) could constitute action that must be overtur
               I.N.S. v. Yueh-Shaio Yang, 519 U.S. 26, 32 (1996) (quoting 5 U.S.C. § 706(2)(A)).


                                                  10
    2:19-cv-03049-MBS           Date Filed 10/05/20       Entry Number 13         Page 11 of 24




        (i)    Any judgment regarding the granting of relief under sections 1182(h),
        1182(i), 1229b, 1229c, or 1255 of this title, or

        (ii)    any other decision or action of the Attorney General or the Secretary of
        Homeland Security the authority for which is specified under this subchapter to
        be in the discretion of the Attorney General or the Secretary of Homeland
        Security, other than the granting of relief under section 1158(a) of this title.

8 U.S.C. § 1252(a)(2)(B)(i), (ii) (emphasis added). Section 1252(a)(2)(B)(ii), generally regarded

as a catchall jurisdiction-stripping clause, is not in and of itself the source of discretionary

                                                                        utory specifications. Kucana

v. Holder, 558 U.S. 233, 237 (2010). Therefore, the discretion Defendants claim to have must be

specified somewhere other than in section 1252(a)(2)(B)(ii).

        Defendants cite 8 U.S.C. § 1184(a) for s                             d not prescribe a



                                              blish regulations governing nonimmigrant

admissions, including the adjudication of U nonimmig

Section 1184(a) reads that                                       es of any alien as a nonimmigrant

shall be for such time and under such conditions as the Attorney General may by regulations



8 U.S.C. § 1255(a)).5 However, as explained throughout this opinion, the court finds no support



5
 The court acknowledges that a court within this Circuit has found that 8 U.S.C. § 1255(a)
                                          entire process of adjustment application ad
                                       ecludes judicial revi                   meaning any act or
series of acts, included within the ongoing adjudication process and the pace at which that action
             Safadi v. Howard, 466 F. Supp. 2d 696, 700 (E.D. Va. 2006) (reserving for another
                                     tion would exist in a district c
where USCIS refused to altogether process an adjustment application or where the delay was so
unreasonable as to be tantamount to a re                                      Safadi concerned a
                                                  e court compel USCIS to immediately adjudicate
his application to adjust to permanent resident status. It did not address any contention regarding
                                  st for an interim EAD under 8 U.S.C. § 274a.13(d). Nor is it
                                                  11
    2:19-cv-03049-MBS          Date Filed 10/05/20       Entry Number 13       Page 12 of 24




for concluding that Congress granted DHS unfettered discretion over the U Visa adjudication

process such that USCIS could simply not adjudicate a petition.

       Furthermore, to the extent Defendants rely on recent revisions to regulations to

demonstrate a Congressional grant of deference                               actions or inaction

from judicial review, the Supreme Court has held that section 1252(a)(2)(B)(ii) bars court review

                                              ess itself set out th

                                                  does not bar judicial review of decisions made

discretionary by regulation. Kucana, 558 U.S. at 246-47. In other words, an agency cannot by

regulation give itself discretion that Congress did not authorize.

       Finally, the court notes the well-settled presumption favoring judicial review of

administrative action. Id. at 251. As the Kucana court explained:

                                                    to divergent interpretation, we adopt the
       reading that accords with traditional understandings and basic principles: that
       executive determinations generally are subject                          Gutierrez de
       Martinez v. Lamagno, 515 U.S. 417, 434, 115 S.Ct. 2227, 132 L.Ed.2d 375
       (1995). We have consistently applied that interpretive guide to legislation
       regarding immigration, and particularly to questions concerning the preservation
       of federal-court jurisdiction. See, e.g., INS v. St. Cyr, 533 U.S. 289, 298, 121 S.Ct.
       2271, 150 L.Ed.2d 347 (2001); [Reno v.] Catholic Social Services, Inc., 509 U.S.
                                                McNary [v. Haitian Refugee Center,
       Inc.
       favoring interpretations of statutes [to] allow judicial review of administrative
                                  Catholic Social Services, Inc.,
       S.Ct. 2485 (quoting McNary, 498 U.S., at 496, 111 S.Ct. 888), the Court assumes
                                                                          id., at 496, 111

       presumption. Catholic Social Services, Inc., 509 U.S., at 64, 113 S.Ct.
       2485 (internal quotation marks omitted).




clear that Defendants advocate here that section 1255(a) applies to trigger section
1252(a)(2)(B)(ii). See ECF No. 7 at 13.
                                                 12
    2:19-cv-03049-MBS           Date Filed 10/05/20        Entry Number 13        Page 13 of 24




558 U.S. at 251-52. See Regents of the University of California, 140 S. Ct. at 1905 (considering

the exception to judicial review set forth in section 701(a)(2)

presumption of review, we have read the [section 701(a)(2) exception] quite narrowly . . .



(citation omitted). For these reasons, the court finds it has jurisdiction to

                                                        their U Visa petition. The court turns next to



       B. 8 U.S.C. § 1184(p)(6) and 8 C.F.R. § 274a.13(d)

       As to requests for work authorization, Defendants reference 8 U.S.C. § 1184(p)(6), dating

                                                       authorization to any alien who has a pending,

bona fide application for nonimmigrant status under section 1101(a

No. 7 at 9. Defendants assert that whether to implement section

                                                        not to exercise its discretion to implement the

EAD process. ECF No. 7 at 14. First, the court is not convinced that the language in section

1184(p)(6) triggers the jurisdiction-stripping provision in clause (ii); second, the court finds that

the regulation in effect at the time Plaintiff Herrera submitted her petition evidences that DHS

had implemented the interim EAD process and had established time-requirements for issuing

EADs, and that Plaintiffs should receive the benefit of that version of the regulation. 6

           1. Section 1184(p)(6)




6
 The court notes that to support their argument Defendants rely on two recent opinions,
Gonzalez v. Cissna, 364 F. Supp. 3d 579, 584 (E.D.N.C. 2019), appeal docketed, No. 19-1435
(4th Cir. Apr. 23, 2019), and Patel v. Cissna, 400 F. Supp. 3d 1373 (M.D. Ga. 2019), neither of
which referenced or discussed 8 C.F.R. § 274a.13(d).



                                                  13
    2:19-cv-03049-MBS             Date Filed 10/05/20     Entry Number 13      Page 14 of 24




                                          notes the reasoning set forth in Kucana, wherein the

Supreme Court determined, in                            of the decisions Congress enumerated in §

1252(a)(2)(B)(i), thereby insulating them from judicial



as a matter of grace, things that involve whether aliens can st                          Kucana,

558 U.S. at 247-48 (describing the enumerated

inadmissibility based on certain criminal offenses, § 1182(h), or based on fraud or

misrepresentation, § 1182(i); cancellation of removal, § 1229b; permission for voluntary

departure, § 1229c; and adjustment                            Kucana court was considering

whether the district court could review a motion to reopen, which it determined was merely a

                                                  type of substantive determinations enumerated

in clause (i). Id. Similarly, the work authorization that DHS may issue under section 1184(p)(6)

is not an award of a final benefit. The nature of work authorization herein at issue is temporary,

and is available only for an al

                                                  the work authorization, it can also later deny the

petition and revoke the work authorization. The court finds Kucana instructive here and

concludes that the issuance of an EAD under section 1184(p)(6) is not the sort of substantive

decision that Congress intended to bar from judicial review under section 1252(a)(2)(B)(ii).

           2. Section 274a.13(d)

       As a second matter, the court considers the fact that DHS promulgated a rule that set for

USCIS a specific pace for adjudicating EAD requests. As stated previously, section 274a.13(d)

                                                  application within 90 days from the date of

                                                   [f]ailure to complete the adjudication within 90



                                                 14
     2:19-cv-03049-MBS          Date Filed 10/05/20        Entry Number 13         Page 15 of 24




days will result in the grant of an employment authorization document for a period not to exceed

                                      The existence of this

positions that it has unfettered discretion with respect to whether it adjudicates EAD requests and

that it has not implemented the procedure set forth in section 1184(p)(6).

        Defendants acknowledge section 274a.13(d), but argue that the time requirement therein

is irrelevant because revised section 274a.13(d) eliminates the 90-day pace of adjudication and

the provision for issuance of an EAD, and petitions that were pending at the time of the rule

change are subject to the revised rule. ECF No. 7 at 16. The court notes as an initial matter that

the Kucana Court expressly rejected the notion that § 1252(a)(2)(B)(ii) applies to administrative

decisions made discretionary by regulation, rather than administrative decisions made

discretionary by statute. 558 U.S. at 252. The Court explained that to hold otherwise would

                                                     shelter its own decisions from abuse-of-

discretion appellate court review simply by issuing a regulation declaring those decisions

                   Id. The court cannot help but find that Defendants are advocating such an

outcome here and declines to interpret revised section 274a.13(d) as evidence that USCIS has the

discretion to elect not to adjudicate requests for work authorizations. 7




7
                                                    section 274a.13(d) belies
In the commentary, DHS acknowledged a range of public comments disagreeing with the
proposal to eliminate the 90-day processing requirement for adjudicating EAD requests,
including concern that eliminating the requirement
                                                   t Workers and Program Improvements Affecting
                                                    Reg. at 82456. DHS responded that it had
                                                      [d] . . . that eliminating the 90-day processing
time for [Forms I-765] . . . will cause . . . longer adjudication t
that . . . Forms I-765 must be adjudicated with
DHS is eliminating the 90-day processing timeframe for Forms I-765 from the regulatory text,
USCIS continues to be committed to the processi                                                      Id.
                                                   15
    2:19-cv-03049-MBS          Date Filed 10/05/20         Entry Number 13         Page 16 of 24




       Additionally, the court is not persuaded that the 90-day provision set forth in section

274a.13(d) has no bearing on Plaintiffs                                  Defendants are attempting to

give retroactive effect to revised section 274a.13(d); Defendants contend they are not advocating

for retroactive effect but rather asserting that the elimination of the 90-day adjudication period

                                                                      F No. 7 at 16. Regardless of

how Defendants choose to characterize the nature of their argument, Plaintiff Herrera was

allegedly eligible to receive an EAD between



that the legal effect of conduct should ordinarily be assessed under the law that existed when the

                                                            Landgraf v. USI Film Prods., 511 U.S.

244, 265 (1994) (quoting Kaiser Aluminum & Chem. Corp. v. Bonjorno, 494 U.S. 827, 855

                                                         nd the Supreme Court has instructed courts

                                     ments and administrative rules . . . to have retroactive effect

                                             Bowen v. Georgetown Univ. Hosp., 488 U.S. 204, 208

                                                          ulgate regulations is limited to the authority



not . . . be understood to encompass the power to promulgate retroactive rules unless that power

                                              Id.

substantial justification for retroactive rulemaking is presented, courts should be reluctant to find

such authority absent an e

       In Landgraf v. USI Film Prods., the Supreme Court established a two-step framework for

determining retroactivity:

       When a case implicates a federal statute enacted after the events in suit, the
                           determine whether Congress has expressly prescribed the

                                                    16
    2:19-cv-03049-MBS           Date Filed 10/05/20      Entry Number 13          Page 17 of 24




                                     Congress has done so, of course, there is no need to
         resort to judicial default rules. When, however, the statute contains no such
         express command, the court must determine whether the new statute would have
         retroactive effect, i.e., whether it would impair rights a party possessed when he
                                                   st conduct, or impose new duties with
         respect to transactions already completed. If the statute would operate
         retroactively, our traditional presumption teaches that it does not govern absent
         clear congressional intent favoring such a result.

                                                   t, prospectivity remains the appropriate default

rule unless Congress has made clear its intent to disrupt

inquiry, revised section 274a.13(d) is silent as to retroactivity and Defendants do not argue

otherwise.8

         As to the second inquiry, the court agrees with another court to address the very same

                                                      revised rule retroactivel



Rodriguez v. Nielsen, 16-cv-7092 (MKB), 2018 WL 4783977, at *17 (E.D.N.Y. Sep. 30, 2018)

(quoting Vartelas v. Holder, 566 U.S. 257, 266 (2012)). More specifically, the Rodriguez court

wrote:

         Under the prior version of section 274a.13(d) Interim EAD, Plaintiff had the right
         to have his EAD application adjudicated within ninety days or receive an interim
                                     adjudication within ninety days vested when Plaintiff
         applied for an EAD, and his right to receive an interim EAD vested when USCIS


8
                                                      rule states that the revised rule is effective
                                                and EB-3 Immigrant Workers and Program
Improvements Affecting High-
2016). But see Landgraf                                           a statute will become effective on
a certain date does not even arguably suggest that it has any application to conduct that occurred
                              re commentary mentions retroactivity only once, with respect to
Form I-140 petitions. Id. at 82416-82417. While this class of petitions is unrelated to the U Visa
petition for the purpose of this lawsuit, it is nonetheless notable that USCIS specifies in the
commentary that the changes promulgated relevant to that class of petitions will not apply
retroactively, and, by way of e                                   resumption against retroactive
                                   Id. (citing Bowen v. Georgetown Univ. Hosp., 488 U.S. 204
(1988)).
                                                 17
    2:19-cv-03049-MBS          Date Filed 10/05/20       Entry Number 13       Page 18 of 24




       failed to adjudicate his application within ninety days. See Fernandez-Vargas [v.
       Gonzales, 548 U.S. 30, 44 n.10 (2006)] (finding rights vest on the date a
       petitioner avails hims                                 enhanced their significance
                                            on of the revised section 274a.13(d), which
       removes both the ninety-day adjudication timeframe and issuance of the interim
       EAD, would strip Plaintiff of these vested rights.

Rodriguez, 2018 WL 4783977, at *18 (citing Vartelas, 566 U.S. at 266).

       Defendants here, like the defendants in Rodriguez, argue that filing an application for an

administrative benefit does not create a vested right in that benefit. ECF No. 7 at 17-18. And the

court agrees that Plaintiffs have no vested right in receiving an EAD under section 1184(p)(6).

However, and as the Rodriguez court found, because USCIS failed to adjudicate Plaintiff

                                    st within 90 days of her application, she had a right to receive

an interim EAD under section 274a.13(d). Cf. Rodriguez, 2018 WL 4783977, at *18 (finding



[under section 1184(p)(6)] with his entitlement to the nondiscretionary benefits provided

under section 274a.13(d) Interim EAD (adjudication within ninety days or an interim EAD).

Plaintiff did not apply for an interim EAD under section 274a.13(d), but, pursuant to that

regulation, he has a right to an interim EAD because Defendants failed to adjudicate his EAD



       Defendants also argue th

                                                  authorization document, as USCIS has never

issued interim work authorization to individuals in her circ

the court concurs with the reasoning in Rodriguez

offer no evidence that Plaintiff knew, or could have known, of this unstated USCIS policy such

that he could not rely on the plain language of the statutor

                                ecessary predicate for invoking the antiretroac

                                                 18
      2:19-cv-03049-MBS         Date Filed 10/05/20      Entry Number 13        Page 19 of 24




Rodriguez, 2018 WL 4783977, at *18 (quoting Vartelas, 566 U.S. at 273-74).9 For these

reasons, the court finds that Plaintiff Herrera has a vested right to have her EAD application

adjudicated within 90 days or receive an interim EAD pursuant to section 274a.13(d). See id.

(citing Fernandez-Vargas, 458 U.S. at 44 n.10). Because the application of revised section

274a.13(d) would strip Plaintiff Herrera of this right, it would have a retroactive effect that

Congress did not authorize. See id.

        In sum, with respect to processing U Visa applications, the court readily agrees that

USCIS is authorized to act with discretion in adjudicating U Visa applications; the court

disagrees that the discretion is unfettered. The guidance found in both the regulations and

informal agency commentary is sufficient for a court to determine whether USCIS has

unreasonably delayed adjudicating a

section 274a.13(d), whether USCIS failed to issue an interim EAD.

II.     Failure to State a Claim

        With respect to the substance of the APA claim, Defendants argue that Plaintiffs fail to



                                 tunate but unavoidable positions as tens of thousands of other



essentially move [Plaintiffs] to the front of the

at 2. As to the due process claim, Defendants argue that Plaintiffs fail to establish that they have

                                                spect to the U Visa petition. ECF No. 7 at 3.




9

trigger the 90-day adjudication period, ECF No. 7 at 19-21, go to the
claim for interim work authorization and not whether the court has jurisdiction to consider the
claim.
                                                    19
     2:19-cv-03049-MBS         Date Filed 10/05/20         Entry Number 13        Page 20 of 24




Finally, Defendants move the court to dismiss Plai                              fees under the Equal

Access to Justice Act because Plaintiffs are not the prevailing parties. Id.

       Plaintiffs respond that they have sufficiently stated a claim under the APA by alleging

that Plaintiff Herrera is entitled to agency action, which the agency has unreasonably delayed,

and that the delay has adversely affected Plaintiff. ECF No. 11 at 7-8. Plaintiffs further respond

that they sufficiently state a due process claim because they seek only a decision regarding

placement on the waitlist, not an award of the benefit; and that the court should maintain the

EAJA claim because should Plaintiffs prevail in



       A. Administrative Procedure Act

                                                       easonably delayed its U Visa waitlist

                                    Telecommunications Research and Action Center v. FCC, 750
                                         10
F.2d 70, 80 (D.C. Cir. 1984)    TRAC          ECF No. 7 at 22. As for work authorization,

Defendants argue that USCIS has not unreasonably delayed issuing an EAD because it has not

                                                       em to the waitlist. ECF No. 7 at 27 (citing 8

C.F.R. §§ 274a.12(a)(19)-(20), 214.14(d)(2), 274a.12(c)(14)). As discussed above, Defendants



10
   In determining whether an agency has unreasonably delayed acting, courts often consider the
six factors set forth in TRAC                                 make decisions must be governed by
a rule of reason; (2) where Congress has provided a timetable or other indication of the speed
with which it expects the agency to proceed in the enabling statute, that statutory scheme may
supply content for this rule of reason; (3) delays that might be reasonable in the sphere of
economic regulation are less tolerable when human health and welfare are at stake; (4) the court
should consider the effect of expediting delayed action on agency activities of a higher or
competing priority; (5) the court should also take into account the nature and extent of the
interests prejudiced by delay; and (6) the court need not find any impropriety lurking behind
agency lassitude in order to hold that agency action is unrea                     Id. (citation and
quotation marks omitted). See South Carolina v. United States, 907 F.3d 742, 759-60 (4th Cir.
2018).

                                                  20
     2:19-cv-03049-MBS            Date Filed 10/05/20      Entry Number 13        Page 21 of 24




disagree that 8 U.S.C. § 1184(p)(6) presents a third means by which to obtain an EAD. ECF No.

7 at 27.

           As of the date Plaintiffs filed their Compla                       application had been

pending for 45 months. ECF No. 1 at 1. Section 706 of the APA states that the reviewing court



Plaintiffs allege that USCIS has unreasonably delayed adjudication of their U Visa petition and

unlawfully withheld issuance of an interim EAD and that they have been adversely affected or

aggrieved as a result of the delay. The court finds that the Complaint sufficiently states a claim

to relief that is plausible on its face. The court also finds that evaluation of the TRAC factors is

better suited on a motion for summary judgment following review of an administrative record.

                                       on to dismiss the APA claim.

           B. Procedural Due Process

           Defendants argue that a U Visa application does not create a liberty or property interest

that is protected by the Due Process Clause. ECF No. 7 at 29. Indeed, all parties agree that the

issuance of a U Visa is discretionary. Plaintiffs seek to distinguish a protected interest in

receiving a determination on their petition from an interest in receiving a favorable

determination, to which they acknowledge they have no claim. 11 ECF No. 11 at 13-14.

           When evaluating due process claims, courts consider (1) whether there is a property or

liberty interest at stake, and (2) whether a process unconstitutionally deprived someone of that

interest. See Stewart v. Bailey, 7 F.3d 384, 392 (4th Cir. 1993). A party who is unable to

identify a property or liberty interest cannot successfully assert a due process claim. See Smith v.



11
                                    cess claim is limited to adjudication of their U Visa petition and
                                          request for work authorization. See ECF No. 1 at ¶ 86;
ECF No. 11 at 13-14.
                                                    21
      2:19-cv-03049-MBS         Date Filed 10/05/20        Entry Number 13        Page 22 of 24




Ashcroft, 295 F.3d 425, 429 (4th Cir. 2002). The mere expectation of a statutory or regulatory

benefit is not enough, but a statute or regulation that grants an

limits the discretion of those who provide the entitlement triggers constitutional protections. See

id.                                 tions that provide only discretionary relief do not create a

property or liberty interest subject to the Due Process Clause. See id. at 430.

         U Visas are a discretionary form of relief. See

will determine, in its sole discretion, the evidentiary value of previously or concurrently



                                                       CIS determines that the petitioner has met the

                                                                                    see also

Maldonado-Guzman v. Sessions,                                                      Torres-Tristan v.

Holder                                                       who meets the statutory criteria is only

                                    not entitled to one as a matter

deciding the jurisdictional question presented here, the court determined that Congress did not

authorize Defendants with unfettered discretion so as to preclude

action and inaction with respect to adjudicating U Visa petitions; however, the court did not find

that Plaintiffs have a constitutionally protected interest in receiving a waitlist determination

within a certain amount of time. Moreover, the decision to issue a U Visa is discretionary.

Plaintiffs do not identify a protected interest with respect to when USCIS must adjudicate their

                                                                       e process claim is granted.




                                                  22
       2:19-cv-03049-MBS         Date Filed 10/05/20       Entry Number 13         Page 23 of 24




III.     Equal Access to Justice Act

         Finally, Defendants argue the court should dism

                                                      28 U.S.C. § 2412(d)(1)(A), because Plaintiffs

are not prevailing parties. EAJA provides:

         Except as otherwise specifically provided by statute, a court shall award to a
         prevailing party other than the United States fees and other expenses . . . incurred
         by that party in any civil action . . . brought by or against the United States . . . ,
         unless the court finds that the position of the United States was substantially
         justified or that special circumstances make an award unjust.



Buckhannon Board & Care Home v. W.V. Dep't of Health and Human Res., 532 U.S. 598, 602

(2001). As Plaintiffs concede, they are not prevailing parties at this time. Additionally,

according to the plain language of the statute, the award of fees and expenses to the prevailing

party who so qualifies under EAJA is not discretionary. Therefore, Plaintiffs need not plead a

claim under EAJA in order to preserve their right to seek those fees and expenses. Furthermore,

the statute sets forth the procedure to follow for a party seeking an award of fees and expenses:

the party shall submit an application within thirty days of the final judgment in the action. 28

U.S.C. § 2412(d)(1)(B). Plaintiffs may follow the guidance of the statute should they become

prevailing parties. The court will dismiss the EAJA claim without prejudice.

                                            CONCLUSION

                                                          motion to dismiss is granted in part and




                                  .

         IT IS SO ORDERED.



                                                   23
    2:19-cv-03049-MBS        Date Filed 10/05/20   Entry Number 13      Page 24 of 24




                                                       /s/Margaret B. Seymour
                                                       Margaret B. Seymour
                                                       Senior United States District Judge

October 2, 2020
Charleston, South Carolina




                                           24
